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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

TAX-RIGHT, LLC,
Plaintiff,
Civil Action No. 3:12-cv-657-JAG
v.
SICPA PRODUCT SECURITY LLC,
Defendant.
CONSENT ORDER OF DISMISSAL

The parties, by counsel, have represented to the Court that all matters of controversy
between them have been settled and resolved to their satisfaction lt appearing proper to do so, it
is hereby ORDERED that:

1. All of plaintiff Tax-Right, LLC’s claims as set forth in its Complaint and First
Amended Complaint are hereby dismissed with prejudice;

2. All of defendant SICPA Product Security LLC’s counterclaims as set forth in its
responsive pleadings are hereby dismissed without prejudice;

3. All attomeys’ fees, expenses and costs shall be allocated pursuant to the terms of
the parties’ confidential Settlement Agreement and Mutual Release dated September 23, 2013;
and

4. All pending motions and requests for relief previously filed with the Court are
hereby denied as moot.

It is so ORDERED.

The Court retains jurisdiction to enforce the provisions of the Settlement Agreement and

Mutual Release, as fully set forth therein.

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The Court directs the clerk to send a copy of this Order to all counsel of record.

/s/ 9,< /']

 

 

Date: ?/ ?d// g M;r)et-§udge_
Richmond, VA f John A. Gibney, .Ir.

United States District Judge

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s. Perry E*bum (vsB No. 78372)
E-mail: pcoburn@cblaw.corn
Craig T. Merritt (VSB No. 20281)
E-mail: cmerritt@cblaw.com
Lindsay J. Raymond (VSB No. 825 57)
E-mail: lraymond@cblaw.com
Christian & Barton, LLP

909 East Main Street, Suite 1200
Richmond, VA 23219-3095

Tel.: 804-697-4100

Fax: 804-697-4112

Charles R. Wolfe, Jr. (VSB No. 17990)
E-mail: wolfe@blankrome.com
Blank Rome, LLP

600 New I-Iampshire Ave, NW
Washington, DC 20037

Tel.: 202-772-5841

Fax: 202-772~1669

Joel L. Dion (pro hac vice)
E-mail: dion-j@blankrome.com
Joelle L. Epstein (pro hac vice)
E-mail: epstein@blankrome.com
Blank Rome, LLP

One Logan Square

130 North 18th Street
Philadelphia, PA 19103-6998
Tel.: 215-569-5440

Fax: 215-832-5540

Cozmselfor' Tax-Righf, LLC

Wyattz‘i. Durrette:Jr. (VSB M;V
E-rnai . Wdurrette@durrettec . m
DurretteCrump PLC

Bank 01" America Centcr, 16th Floor

1111 East Main Street

Richmond, VA 23219

Tel.: 804.775.6900

Fax: 804.775.6911

Neil F. Greenblum (VSB No. 30870)
E-mail: ngreenblum@gbpatent.com
P. Branko Pejic (pr'o hac vice)
E-rnail: bpejic@gbpatent.com

Jill M. Browning (VSB No. 36377)
E-mail: jbrowning@gbpatent.com
GREENBLUl\/I & BERNSTEIN, PLC
1950 Roland Clarke Place

Reston, VA 20191

Tel.: 703.716.0062

Fax: 703.716.0018

Cozmse/for SICPA Product Secz.zrity LLC

